                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       No. 21-03067-01-CR-S-BCW
                                                     )
DAVID PANBEHCHI,                                     )
                                                     )
                Defendant.                           )

                                             ORDER

       Counsel for Defendant has filed a motion for continuance of the August 16, 2021 trial

setting in the above-captioned case. (Doc. 17.)

       In any case in which a plea of not guilty is entered, the trial shall commence within 70

days from the filing of the information or indictment or the date of the defendant’s first

appearance, whichever comes last. 18 U.S.C. § 3161(c)(1) (the “Speedy Trial Act”). However,

in computing the time within which trial of any offense must commence, any period of delay

resulting from a continuance granted by the court at the request of a defendant or his or her

counsel, which serves the ends of justice, shall be excluded from computing the time. 18 U.S.C.

§ 3161(h)(7)(A). The Speedy Trial Act requires that the court set forth its reasons for finding

that the ends of justice served by the granting of such continuance outweigh the best interests of

the public and the defendant in a speedy trial. Factors which this Court shall consider in

determining whether to grant a continuance include whether the failure to grant such a

continuance would be likely to result in a miscarriage of justice and deny reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.

       Counsel for Defendant states that additional time is needed to globally evaluate the case,




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including the discovery, guidelines, suppression issues, and resolution options. Failure to grant

the continuance would deny counsel for Defendant the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. The Court finds that the ends of

justice served by granting a continuance outweigh the best interest of the public and Defendant

in a speedy trial. It is therefore

        ORDERED that the motion for continuance of the August 16, 2021 trial setting is

granted; and it is further

        ORDERED the above-captioned case is reset for jury trial on the Joint Criminal Trial

Docket which commences on May 2, 2022 at 9:00 a.m.; and it is further

        ORDERED that the pretrial conference set in this matter on July 21, 2021, is hereby

cancelled; and it is further

        ORDERED that the additional period of delay in commencing the trial caused by this

continuance shall be excluded in computing the time within which this trial shall commence

under the Speedy Trial Act.

        IT IS SO ORDERED.

                                                    /s/ David P. Rush
                                                    DAVID P. RUSH
                                                    UNITED STATES MAGISTRATE JUDGE

DATE: July 14, 2021




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